                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

        United States of America,           )

                Plaintiff,
                                            )
                                            )              Case No:   20CR637
                                            )
               v.                           )              Magistrate Judge: M. David Weisman
                                            )
        Jeremiah Harris,                    )
                                            )
               Defendant,                   )

                                            ORDER
       Arrest warrant issued to the United States Marshal and Any Authorized Officer as to
defendant Jeremiah Harris. The Government's motion to seal arrest warrant, criminal complaint,
and supporting affidavit, is granted. Enter Order Attached.




 Date: September 17, 2020                               ________________________________
                                                        M. David Weisman
                                                        United States Magistrate Judge
